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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE



United States

      v.                                 Case No. 02-cr-153-09-PB

Khalil Abou-Nahhoul



                              NOTICE OF RULING


      Re:   Document No. 226, Motion to Exceed

     Ruling:    This was a complex case.       The discovery was
voluminous and counsel had to have the case ready for trial before
the indictment was dismissed. Motion granted.


      Entered by:    Paul Barbadoro, U.S. District Judge

      Date:   July 15, 2005




cc:   Michael Iacopino, Esq.
